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            IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


JUNIOR OATMAN,                         *
                                       *


    Plaintiff,                         *
                                       *


           V.                          *                   CV 118-089
                                       *


AUGUSTA COLLECTION AGENCY,             *
INC.,                                  *
                                       *


    Defendant.                         *




                                 ORDER




     Before     the    Court is Defendant Augusta Collection Agency,

Inc.'s   C'ACA") motion for summary judgment.               The Clerk of Court

gave Plaintiff notice of the motion for summary judgment and

informed him of the summary judgment rules, the right to file

affidavits or other materials in opposition, and the consequences

of default.     {Doc. 12.)      Thus, the notice requirements of Griffith

V. Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam),

are satisfied.        The time for filing materials in opposition has

expired, and the motion is ripe for consideration.



                                 I.        Background


     Plaintiff        brought   this   case     pursuant    to   the    Fair   Debt

Collection Practices Act ("FDCPA"), 15 U.S.C. §§ 1692 et seq., and

the Telephone Consumer Protection Act ("TCPA") / 47 U.S.C. §§ 227
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et seq.     (Compl., Doc. 1, at 1.)     Plaintiff alleges that Defendant

violated Sections 1692c, 1692d and 1692e of the FDCPA as well as

Section 227 (b)(1)(A)(iii)^ of the TCPA.         (Id. at 4-6.)     The facts

giving rise to this case are as follows.


       Plaintiff incurred a debt of $2,196 to Gold Cross, Inc. ("Gold

Cross") for emergency medical services provided to him.              (Oatman

Dep., Doc. 12-2, at 51:22-52:4.)         Gold Cross engaged Defendant to

collect the debt.        (Def.'s Statement of Facts, Doc. 12-1, H 2.)

Plaintiff has not been sued on the debt.          (Oatman Dep., at 25:19-

21.)


       Plaintiff provided his phone number to Defendant during his

first call to Defendant on March 21, 2018.           (Oatman Dep., at 65:5-

16, 85:19-86:6; Decl. Robert A. Wylds Jr., Doc. 12-4, at 3 and H

5.)      During the call. Plaintiff also told Defendant that he

believed his insurance would cover the debt; Plaintiff agreed with

Defendant's agent that she should check with the insurance provider

and Plaintiff's employer to see if the services were covered. (Id.

at 75:1-75:20).        They were not.   (Id. at 76:2-76:10.)

       During    the   call.   Defendant's   agent   allegedly   threatened

Plaintiff with lawsuits and garnishment, threatened to contact a



1 Count II of the Complaint cites section 227 (b)(1)(iii), which
misses a capital-letter subsection designation.    However, it is
clear from Plaintiff's response to the motion for summary judgment
and other arguments that Count II is brought under section 227
(b)(1)(A)(iii).
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third party regarding the debt, and used profanity.                 (Id. at 86:1-

87:1, 93:21-94:10, 95:8-16.)              The specific instances of profanity

include: that the agent "[didn't] give a damn" and that "[t]he

shit is going to get resolved one way or another."                 (Id. at 98:12-

14.)


       After March 21, Plaintiff and Defendant exchanged calls a

total of seven times: Defendant called Plaintiff on March 23, 26,

27, and 28, and Plaintiff called Defendant three times on March

27.      (Id.    at    85:1-11.)      When   Defendant     initiated     the    calls,

Plaintiff heard a "robot-type sound" and not a live person.                       (Id.

at 87:16-22.)         During the March 28*^^ call. Plaintiff told Defendant

not to call him again.          (Id. at 79:2-8; Decl. Robert A. Wylds Jr.,

H 7.)    Plaintiff claims that Defendant called him after he revoked

his    consent,       but   it is   clear    that   Plaintiff    called   Defendant

several times after March 28 to inquire about his debt.                        (Oatman

Dep., at 80:12-14, 82:17-25; Decl. Robert A. Wylds Jr., ^ 8.)




                              II.    Procedural Arguments


        Before    addressing        the   merits    of   the   motion,    the    Court

considers the Parties' procedural arguments.                     Plaintiff argues

that Defendant waived its affirmative defense of consent because


it was not pled in the Answer as required by Federal Rule of Civil
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Procedure 8(c).   This argument fails.     Defendant did plead consent

in its seventh defense.     (Answer, Doc. 5, at 2.)


     Next, Defendant argues that Plaintiff's failure to file a

separate statement of facts requires the Court to deem Defendant's

account of the facts admitted under Local Rule 56.1.       This argument

fails too.   In support of its argument. Defendant cites two cases:

Bank of Ozarks v. Kingsland Hosp., LLC, No. 4:ll-cv-237, 2012 WL

5928642, at *4 (S.D. Ga. Oct. 5, 2012), and Garmley v. Cochran,

651 F. App'x 933, 937 (11th Cir. 2016).      While the court in Garmley

upheld the district court's decision to deem uncontested facts

admitted, it did so under the Northern District of Georgia's local

rules.   Garmley, 651 F. App'x at 937.


     As the court in Bank of Ozarks highlights, those local rules

are more exacting than the local rules of this Court.             Bank of

Ozarks, 2012 WL 5928642, at *5 ("Whereas the Northern District's

[Local Rule] 56.1 explicitly requires summary judgment respondents

to file a responsive brief and an individually numbered response

to the movant's [statement of facts], the Southern District of

Georgia's [Local Rule] 56.1 only requires the [statement of facts]

be 'controverted by a statement served by the opposing party.'").

That court then considered the nonmoving party's reply brief and

the evidence it cited, to the extent it complied with Local Rule

56.1.    Id.; see also id. at *5 n.3 ("Although a response brief
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alone can satisfy the          requirements of          [Local   Rule]   56.1,   the

purpose of [Local Rule] 56.1 leaves the Court in this case wanting

something better capable of focusing the Court's attention on what

is, and what is not, genuinely controverted." (internal quotation

and    punctuation    omitted)).       Accordingly,        the   Court    considers

Plaintiff's response          brief - which contains a section titled

''Statement    of    Facts"   and    citations     to   Plaintiff's      deposition

throughout - and the evidence it cites insofar as it conforms with

Local Rule 56.1.




                               Ill. Legal Standard


       Summary judgment is appropriate when "there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law."               Fed. R. Civ. P. 56(a).       Facts are

"material" if they could "affect the outcome of the suit under the

governing [substantive] law," Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986), and a dispute is genuine "if the nonmoving

party has produced evidence such that a reasonable factfinder could

return a verdict in its favor."               Waddell v. Valley Forge Dental

Assocs., Inc., 276 F.3d 1275, 1279 (11th Cir. 2001).                     Inferences

drawn from the facts must be in the light most favorable to the

nonmoving party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475    U.S.   574,   587   (1986),    and    the   Court   should   "resolve     all
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reasonable   doubts   about   the   facts   in favor   of   the   non-movant."


United States v. Four Parcels of Real Prop., 941 F.2d 1428, 1437

(11th Cir. 1991) (en banc) (citation, internal quotation marks,

and internal punctuation omitted).          The Court should not weigh the

evidence or determine credibility.          Anderson, 477 U.S. at 255.

     The moving party has the initial burden of showing the Court

the basis for its motion by reference to materials in the record.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).               Because the

standard for summary judgment mirrors that of a directed verdict,

the initial burden of proof required by either party depends on

who carries the burden of proof at trial.              Id. at 322-23.     When

the movant does not bear the burden of proof at trial, it may carry

the initial burden in one of two ways — by negating an essential

element of the nonmovant's case or by showing that there is no

evidence to prove a fact necessary to the nonmovant's case.                See

Clark V. Coats & Clark, Inc., 929 F.2d 604, 606-08 (11th Cir. 1991)

(citing Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970); Celotex

Corp., 477 U.S. 317).         The movant can never satisfy its initial

burden by merely declaring that the nonmoving party cannot meet

its burden at trial.     Id. at 608.


     If the movant carries its initial burden, the nonmovant must

"demonstrate that there is indeed a material issue of fact that

precludes summary judgment."         Id.    When the nonmovant bears the

burden of proof at trial, the nonmovant must tailor its response
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to the method by which the movant carries its initial burden.                  For

example, if the movant presents evidence negating a material fact,

the non-movant "must respond with evidence sufficient to withstand

a directed verdict motion at trial on the material fact sought to

be negated."        Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1116

(llth Cir. 1993).        On the other hand,           if    the   movant shows an

absence of evidence on a material fact, the nonmovant must either

show   that   the   record   contains    evidence     that   was "overlooked   or


ignored" by the movant or "come forward with additional evidence

sufficient to withstand a directed verdict motion at trial based

on the alleged evidentiary deficiency."                    Id. at 1116—17.     The

nonmovant     cannot    carry   its     burden   by    relying     on   conclusory

allegations contained in the pleadings.               See Morris v. Ross, 663

F.2d 1032, 1033—34 (llth Cir. 1981).             Rather, the nonmovant must

respond with affidavits or as otherwise provided by Federal Rule

of Civil Procedure 56.          In reaching its conclusions herein, the

Court has evaluated the Parties' briefs, other submissions, and

the evidentiary record in this case.




                                 IV.    Discussion


A.   TCPA Claim


       Defendant first seeks summary judgment as to Plaintiff's TCPA

claim under 47 U.S.C. 227(b). Section 227(b)(3) provides a private
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right of action for damages and/or injunctive relief for violations

of the Section, and statutory damages of $500 per violation if

Plaintiff's actual monetary loss is less than $500.2            plaintiff

alleges   that Defendant   contacted    him   in   violation   of   Section

227(b)(1)(A)(iii), which prohibits calls to cellular phones dialed

from   an "automatic   telephone   system"    or using "an artificial

prerecorded voice" without the consent of the receiving party.

       Defendant argues that Plaintiff consented to receiving such

calls when he provided Defendant with his phone number.             This is

an accurate statement of the law. "[P]ersons who knowingly release

their phone numbers have in effect given their invitation or

permission to be called at the number which they have given, absent

instructions to the contrary."     Murphy v. DCI Biologicals Orlando,

LLC, 797 F.3d 1302, 1305 (11th Cir. 2015) (quoting In re Rules &

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 7

F.C.C. Red. 8752, 8769 (1992) (implementing the TCPA)).                 So,

Plaintiff cannot recover for the calls he received after providing

Defendant with his phone number but before he revoked his consent

to be called on March 28, 2018.




2 Although 47 U.S.C. § 227(b)(3) states that actions may be brought
in a state court, the United States Supreme Court held that federal
courts have jurisdiction over private TCPA actions. Mims v. Arrow
Fin. Servs., LLC, 565 U.S. 368, 376 (2012) ("We now hold that
Congress did not deprive federal courts             of   federal-question
jurisdiction over private TCPA suits.").

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       stated differently, because Plaintiff initiated contact with

Defendant, the only way Plaintiff could recover under Section

227(b)(1)(A)(iii)          is   if    Defendant        called       him    after    he   told

Defendant's        agent   to    stop    calling       him.         Defendant      presented

undisputed evidence that: (1) Plaintiff placed the first call to

Defendant (Def.'s Statement of Facts, H 6); (2) on that call.

Plaintiff provided his phone number to Defendant (id. ^ 10); and

(3)    that once     Plaintiff        revoked    his    consent to receive            calls.

Defendant did not call him again (id. HH 24-28).                          Thus, the burden

shifts to Plaintiff to "demonstrate that there is indeed a material


issue of fact that precludes summary judgment."                           Clark, 929 F.2d

at 608.



       Plaintiff's response to the motion makes no citation to the

record or argument that Defendant called Plaintiff after March 28,

instead focusing on the ill-fated failure-to-plead argument which

the Court dispatched above.              Plaintiff does argue that the calls

always    seemed     to    be   automated,       but    that    does      not   refute    the

evidence showing that Defendant never called Plaintiff after he

revoked      his    consent.          While     Section       227(b)(1)(A)         prohibits

artificial voices, it does so only when the call is made without

the prior consent of the recipient.               Plaintiff provides no evidence

that    he   was    called      after   he    withdrew        his    consent.       Because


Plaintiff     has    failed      to   "respond     with    evidence         sufficient    to

withstand a directed verdict motion at trial on the material fact
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sought to be negated," summary judgment for Defendant is proper as

to Plaintiff's TCPA claim.      See Fitzpatrick, 2 F.3d at 1116.


B. FDCPA Claims


       Defendant also moves for summary judgment on Plaintiff's

FDCPA claims under 15 U.S.C. §§ 1692c, 1692d, and 1692e.


1. 15 U.S.C. § 1692c


       Count I of the complaint asserts a claim under this Section,

which prohibits debt collectors from communicating with most third

parties about the debt unless the debtor consents.            15 U.S.C. §

1692c(b).    Defendant argues that Plaintiff consented to having it

contact Plaintiff's employer and insurance provider and has cited

evidence that Plaintiff gave such consent.         (See Oatman Dep., at

75:11-20.)    Although Plaintiff provides no argument on the issue,

he points out that Defendant "call[ed] my employer not only to

verify my insurance, but to garnish my wages through my paycheck."

(Id.   at   95:12-14.)   Such   a   call   would   exceed   the   scope   of

Plaintiff's consent.     Plaintiff       has demonstrated a dispute       of

material fact as to this issue, and therefore summary judgment for

the Section 1692c claim is not appropriate.


2. 15 U.S.C. § 1692d


       Count I also asserts claims under this Section, which states:


       A debt collector may not engage in any conduct the
       natural consequence of which is to harass, oppress, or
       abuse any person in connection with the collection of a

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       debt. Without limiting the general application of the
       foregoing, the following conduct is a violation of this
       section: . . . (2) The use of obscene or profane language
       or language the natural consequence of which is to abuse
       the hearer or reader.


15 U.S.C. § 1692d(2).         Claims under this section are considered

''from the perspective of a consumer whose circumstances make[] him

relatively more susceptible to harassment, oppression, or abuse."

Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1179 (11th Cir. 1985).

       In addition to profanity. Plaintiff argues that threats of

garnishment violate the general provision of Section 1692d.                  As to

profanity. Section 1692d(2) "was meant to deter offensive language

which is at least akin to profanity or obscenity.                 Such offensive

language might encompass name calling, racial or ethnic slurs, and

other     derogatory        remarks       which    are     similar    in    their

offensiveness."       Id. at 1178.


       Comparing the two instances of profanity Defendant used in

this    case   to   those   that   were    found   to    have   violated   Section

1692d(2), it is clear that Defendant's statements do not sink to

the level of abuse the statute prohibits.                See Kelemen v. Prof'l

Collection Sys., No. 6:09-cv-1639-Orl-28DAB, 2011 WL 31396, at *3

(M.D. Fla. Jan. 2, 2011) ("However, language that is merely 'rude

and unpleasant' does not violate the FDCPA.") (citation omitted).

Here, Defendant's agent said, "I don't give a damn" and "[t]he

shit is going to get resolved one way or another."                 (Oatman Dep.,

at 98:11-14.)       This language is close to the language in Kelemen,

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which found that ''pay your damn bills" did not violate Section

1692d(2).   Kelemen, 2011 WL 31396, at *3.        Examples of language

violating Section 1692d(2) include "god-damn liar," "low-down son

of a bitch," and "tell Amanda to quit being such a fucking bitch."

United States v. Cent. Adjustment Bureau, Inc., 667 F. Supp. 370,

376 (N.D. Tex. 1986; Horkey v. J.V.D.B. & Assocs., Inc., 179 F.

Supp. 2d 861, 868 {N.D. 111. 2002).

     After comparing these statements from other cases to those in

this case, and noting that the statements are not directed at the

Plaintiff like the statements found to have violated the Section,

the Court concludes as a matter of law that the statements do not

violate Section 1692d(2).

     The Court now turns to the claim that Defendant threatened to

garnish Plaintiff's wages in violation of the general part of

Section 1692d, the argument being that a threat to garnish debtor's

wages is harassing, oppressive, or abusive.           A debt collector

threatening legal action - although possibly embarrassing - is not

inherently violative of Section 1692d.         See Jeter, 760 F.2d at

1179; Miljkovic v. Shafritz & Dinkin, P.A., 791 F.3d 1291, 1305

(11th Cir. 2015).   The question is whether the conduct reflects a

"tone of intimidation."     Jeter, 760 F.2d at 1179; Miljkovic, 791

F.3d at 1305.


     "Ordinarily, whether conduct harasses, oppresses, or abuses

will be a question for the jury."       Jeter, 760 F.3d at 1179.        At

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his deposition, Plaintiff averred that the Defendant threatened to

contact his employer to garnish his wages.           {Oatman Dep., at 86:7-

87:1; 93:21-94:10; 95:8-16).)       Construing the evidence in the light

most favorable to Plaintiff as the nonmovant, and noting that the

question of whether conduct harasses, oppresses, or abuses is

normally a question for the jury, the Court denies Defendant's

motion as to whether the threats of garnishment violated Section

1692d.     See Jeter, 760 F.3d at 1179 (stating that Section 1692d

conduct analysis is ordinarily for the jury); Shuler, 441 F. App'x

at 716-17 (stating that the summary judgment standard requires

district courts to construe evidence in the light most favorable

to the nonmoving party).


3.    15 U.S.C. § 1692e


       Finally, Count I of the Complaint asserts a claim under

Section 1692e for Defendant's alleged use of false representations

and deceit to collect the debt.       One of the applicable subsections,

subsection (4), prohibits ''[t]he representation or implication

that     nonpayment     of   any    debt   will      result   in   .     .   .

garnishment, . . . unless       such action     is   lawful and    the     debt

collector . . . intends to take such action."         15 U.S.C. § 1692e(4).

Similarly, subsection (5) prohibits          ^'[t]he threat to take any

action that cannot legally be taken or that is not intended to be




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taken."       The question of intent is common to both subsections and

is at issue in this case.


       Defendant first argues that Plaintiff fails to allege facts

to state       a    claim    under     Section     1692e.         This argument   fails:

Plaintiff alleged a violation of Section 1692e, that Defendant

threatened         to   file    suit    and   garnish       his    paycheck,    and   that

Defendant used false representations in an attempt to collect the

debt.    (See Compl., at               12-14, 23-24.)

       Defendant also argues that the mere threat of garnishment

does    not    violate       the    FDCPA,    and    that    invoking     the   remedies

available          to   debt       collectors,       including        garnishment,      is

permissible.         Defendant bases its argument on Miljkovic, where the

Eleventh Circuit ruled that using legal remedies to collect a debt

does    not        violate      Section   1692e.        However,        Section       1692e

differentiates between threatening to employ such a remedy and

actually doing so.             This is evident from the language "unless such

action is lawful and the debt collector . . . intends to take such

action."       15 U.S.C. § 1692e(4); compare Jeter, 760 F.2d at 1175-

76 (ruling that the issue of whether debt collector intended to

file suit after sending a letter saying it would file suit if

debtor did not pay within certain time should have been tried to

a jury), with Miljkovic, 791 F.3d at 1307 ("If judicial proceedings

are to accurately resolve disputes, . . . debt-collector attorneys

must be permiitted to . . . invoke the remedies available to them,

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including wage garnishment.") (citing Heintz v. Jenkins, 514 U.S.

291, 296 (1995) ("[The Act allows] the actual invocation of the

remedy that the collector 'intends to invoke.'")).

       The only evidence             before       the   Court regarding Defendant's

alleged garnishment threats is in Plaintiff's deposition.                           (Oatman

Dep., at 86:7-87:1; 93:21-94:20; 95:8-16.)                           In the deposition.

Plaintiff      stated      multiple         times    that    Defendant      threatened    to

garnish his wages.               (See id.) Defendant has not presented any

evidence that it either did not make the threats, or if it did,

that it intended to carry out its garnishment efforts.                            Plaintiff

also notes that he has never been sued by anyone regarding the

debt, lending support to his argument that Defendant did not intend

to take the legal action it threatened.                            (See Oatman Dep., at

25:19-21.)         Thus, there exists a genuine dispute as to whether

Defendant      intended         to   take    the     legal    actions    it    threatened.

Accordingly, summary judgment as to Plaintiff's Section 1692e

claim is denied.




                                     V.     Conclusion

       Upon    the   foregoing.           Defendant's        motion   for     summary

judgment (doc. 12) is GRANTED IN PART and DENIED IN PART.

Defendant's motion is granted as to Plaintiff's claims under

47   U.S.C.    §    227    of    the      TCPA.      Plaintiff's      claims      under

Sections      1692c,      1692d,      and    1962e      of   the   FDCPA,    as   more



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specifically discussed above, shall proceed to trial in due

course.




        ORDER ENTERED at Augusta, Georgia this //      day of December,

2019.




                                        J. RANgA^THALL, "^lEF JUDGE
                                        UNITED-S;^TES DISTRICT JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




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